TheCase 18-00728-SMT
    order              Doc 87
           below is hereby     Filed 04/27/19
                           signed.                            Entered 04/28/19 00:10:23     Desc Imaged
                                      Certificate of Notice    Page 1 of 5
Signed: April 24 2019




                                                        _____________________________
                                                        S. Martin Teel, Jr.
                                                        United States Bankruptcy Judge


                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF COLUMBIA

          In re:                                         *

          LORIE LYNN RONES                               *        CASE NO.: 18-0-0728-SMT
                                                                  (Chapter 13)
                                                         *
                    Debtor
          *         *      *      *        *      *      *

                                                         *
          BMW BANK OF NORTH AMERICA
                                                         *
                    Movant
                                                         *
               v.
                                                         *
          LORIE LYNN RONES
          WALTER LEROY PEACOCK, III                      *

                    Respondents                          *

          *         *     *       *        *      *      *        *     *     *      *       *      *

              CONSENT ORDER MODIFYING AUTOMATIC STAY AND CO-DEBTOR STAY

                          Upon consideration of the Motion Seeking Relief From Automatic Stay And

          Co-Debtor Stay and to Reclaim Property filed by BMW Bank of North America, the Movant,

          with regard to the vehicle subject to its purchase money security interest, namely, one 2015

          BMW 3 Series, serial number WBA3B5C51FF963536; and Movant and the




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      Debtor, Lorie Lynn Rones, having agreed to the terms of this Consent Order and no objection

      thereto have been filed by the Co-Debtor, Walter Leroy Peacock, III; it is, by the United

      States Bankruptcy Court for the District of Columbia,

                     ORDERED, that the Automatic Stay and Co-Debtor Stay be, and it hereby is,

      terminated to allow Movant to exercise and enforce its state law and contractual rights and

      remedies with regard to the above-described vehicle; and it is further

                     ORDERED, that Movant shall dispose of said vehicle in a commercially

      reasonable manner and shall pay any surplus sale proceeds to the Respondents; and it is

      further

                     ORDERED, that Movant shall not exercise or enforce its state law and

      contractual rights and remedies with regard to the vehicle if the Debtor does the following:

                     a.       Cures the arrearages in the amount of $1,493.25 by paying Movant

      $497.75 by May 1, 2019, by paying Movant $497.75 by June 1, 2019, and by paying Movant

      $497.75 by July 1, 2019; and

                     b.       Resumes regular monthly contractual payments of $497.75 each to

      Movant, commencing 4/16/19 and continuing on the 16th day of each consecutive following

      month until the full amount owed under the contract for purchase of the vehicle has been

      paid; and

                     c.       3D\V0RYDQW¶VFRXQVHOIHHVRI$531.00 by paying Movant $531.00 by

      8/01/19; and

                     d.       Maintains a policy of comprehensive physical damage property

      LQVXUDQFHRQWKHDIRUHVDLGYHKLFOHZKLFKSURWHFWV0RYDQW¶VLQWHUHVWVWKHUHLQDQGSURYLGHV



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      Movant with proof of the same by 4/22/19 and within ten days of any subsequent request

      thereof.

                     AND IT IS FURTHER ORDERED, that if the Debtor fails to make any of the

      payments described above in full and on time, or fails to provide Movant with proof of

      insurance or maintain such insurance, as described in paragraph d above, then Movant may

      immediately exercise and enforce its state law and contractual rights and remedies with

      regard to the vehicle without further proceedings in this Court after filing a notice of any

      such default and serving the same on the Debtor DQGWKH'HEWRU¶VFRXQVHOJLYLQJWKHDebtor

      ten days from the date of such notice to cure such default (limited to one such notice).

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      dismissed or converted to Chapter 7, then Movant may immediately exercise and enforce its

      state law and contractual rights and remedies with regard to the vehicle, without further

      proceedings in this Court, unless all defaults in payments are immediately and fully cured.

                     AND IT IS FURTHER ORDERED, that the Debtor having waived the

      application of F.R.Bankr.P. 4001(a)(3), this Order shall be enforceable on the date of its

      entry.

                   The undersigned hereby agree to the terms of the foregoing Consent Order
      Modifying Automatic Stay and Co-Debtor Stay.


      /s/ Kevin D. Judd ___________                 _/s/ _ MICHAEL J. KLIMA, JR.
      Kevin D. Judd                                 MICHAEL J. KLIMA, JR. #25562
      601 Pennsylvania Ave NW                       8028 Ritchie Highway
      Suite 900-South Bldg.                         Suite 300
      Washington DC, DC 20004                       Pasadena, MD 21122
      202-483-6070                                  (410)768-2280
      Attorney for Debtor                           Attorney for Movant
                                                    Attorney File No.: 19-15388-0


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                      I HEREBY CERTIFY, that the terms of the copy of the Consent Order
      submitted to the Court are identical to those set forth in the original Consent Order; and the
      signatures represented by the /s/ on this copy reference the signatures of consenting parties
      on the original Consent Order.




                                                    /s/ Michael J. Klima, Jr.
                                                    Michael J. Klima, Jr.



      cc:    Michael J. Klima, Jr.
             8028 Ritchie Hwy S-300
             Pasadena, MD 21122


             Lorie Lynn Rones
             2920 Pennsylvania Ave, SE
             Washington, DC 20020

             Kevin D. Judd, Esq.
             601 Pennsylvania Ave NW
             Suite 900-South Bldg.
             Washington DC, DC 20004

             Nancy L. Spencer Grigsby, Trustee
             Chapter 13 Trustee
             185 Admiral Cochrane Dr.
             Suite 240
             Annapolis, MD 21401

                                              End of Order




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                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 18-00728-SMT
Lorie Lynn Rones                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 25, 2019
                                      Form ID: pdf001                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 27, 2019.
db             +Lorie Lynn Rones,   2920 Pennsylvania Ave, SE,   Washington, DC 20020-3837

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 27, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 25, 2019 at the address(es) listed below:
              Dinh Ngo    on behalf of Creditor   HSBC Bank USA, National Association, as Trustee for Nomura
               Home Equity Loan, Inc., Asset-Backed Certificates, Series 2006-FM2 dngo@mwc-law.com
              Kevin D. Judd   on behalf of Debtor Lorie Lynn Rones bkadmin@juddlawfirm.com,
               juddecf@gmail.com;juddkr71403@notify.bestcase.com
              Michael J. Klima, Jr.   on behalf of Creditor   BMW Bank of North America, c/o AIS Portfolio
               Services, LP jklima@peroutkalaw.com, bankruptcy@peroutkalaw.com
              Nancy Spencer Grigsby   grigsbyecf@ch13md.com
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                            TOTAL: 5
